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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                  CIVIL MINUTES -- GENERAL

Case No.      CV 18-9573-JFW(JPRx)                                       Date: December 10, 2021

Title:        Federal Trade Commission -v- Apex Capital Group, et al.

PRESENT:
             HONORABLE JOHN F. WALTER, UNITED STATES DISTRICT JUDGE

              Shannon Reilly                                None Present
              Courtroom Deputy                              Court Reporter


ATTORNEYS PRESENT FOR PLAINTIFFS:                   ATTORNEYS PRESENT FOR DEFENDANTS:
              None                                                None

PROCEEDINGS (IN CHAMBERS):               ORDER GRANTING JOINT MOTION TO UNSEAL
                                         COURT FILINGS [ECF NOS. 16, 148, 171] [filed
                                         11/18/21; Docket No.212]

       On November 18, 2021, Plaintiff Federal Trade Commission (“FTC”) and Receiver Thomas
W. McNamara (the “Receiver”) jointly filed a Motion to Unseal Court Filings [ECF Nos. 16, 148,
171] (“Motion”). No Opposition was filed. Pursuant to Rule 78 of the Federal Rules of Civil
Procedure and Local Rule 7-15, the Court finds that this matter is appropriate for decision without
oral argument. The hearing calendared for December 20, 2021 is hereby vacated and the matter
taken off calendar. After considering the moving, opposing, and reply papers, and the arguments
therein, the Court rules as follows:

       The FTC’s and Receiver’s Motion is GRANTED. The Clerk shall unseal and make public:
(1) the Ex Parte Temporary Restraining Order with Asset Freeze, Appointment of a Temporary
Receiver, and Other Equitable Relief, and Order to Show Cause Why a Preliminary Injunction
Should Not Issue, filed November 16, 2018 (Docket No. 16); (2) the Declaration of Thomas W.
McNamara in Support of Receiver’s Motion for Authorization to Engage Contingent Fee Counsel,
filed March 30, 2020 (Docket No. 148); and (3) the Declaration of Thomas W. McNamara in
Support of Receiver’s Unopposed Motion to Extend Completion of Deadline for Receivership, filed
March 9, 2021 (Docket No. 171).

         IT IS SO ORDERED.




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